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             Exhibit 13
Case 2:16-cv-06576-KM-MAH Document 266-13 Filed 10/10/22 Page 2 of 13 PageID: 11889

                                                          Thursday, OctobT24,2013 3:55:45 PM Eartrn 0«y<lfht Tim#

    Subitct RE: Zenu Approval
    Date;     Thursday. October 24.2013 3:43:55 PM Eastern Daylight Time
    From;     Wilson Zuluaga
    To:       'iaiine Isidor'
    CC        'Julio Isidor*

    Good afternoon.

   All images arc hereby APPROVED.

   Thank you for your valuable help with these.

   Regards.

   Wilson Zuluaga.


   From: JaUne Isidor [malltQ:iaUr>ei9clbaomeataMnl
   Sant Thursday, October 24,201312:18 PM
   To: wason Zuluaga
   Cc: JuHo Isldc^
   Subject Zenu Approval

   Good Afternoon Wilson,

   Attached are all the images that will be used for your product line.
   Please send me an email with the word APPROVED for all of the images here so they can be sent for production.
   I included the Salchlchon Tradiclonal so you could see everything all together. It has been sent already to the
   company.

   Regards,

  Jatirse Q. Isidor | MarhaungAssMsm
  Gbao Meat Products | '             ^                *
  630 Saint Ann's Ave.. Bronx. NY 10455
  T: 718-993-5072 | F: 718-993-5638
  JaHnelflldbaomeat.cQm




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